 Case 3:04-cr-05460-RBL                     Document 130            Filed 08/17/06           Page 1 of 2


                                                                    JUDGE FRANKLIN D. BURGESS




                            IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA

UNITED STATES OF AMERICA,                                   )
                                                            )       No. CR04-5460FDB
                                         Plaintiff,         )
                                                            )       ORDER GRANTING AGREED
                      v.                                    )       MOTION TO CONTINUE
                                                            )       DEFENDANT SCOTT LANEY'S
SCOTT LANEY,                                                )       SENTENCING HEARING
                                                            )
                                         Defendant.         )
_______________________________________)

          THIS            MATTER         having       came      before      the     Court     on     the    agreed

motion         of    the    parties   for     an      Order      Continuing        Defendant       Scott    Laney's

Sent encing           Hearing,        and     the      Court       having         reviewed     the     pleadings,

records        and     files   herein,     and     having       heard    the   argument      of     counsel,      and

being fully advised in the premises, and good cause appearing therefore,

          IT         IS    HEREBY             ORDERED               t hat      defend ant 's         mo t i o n    is

GRANTED; and it is

          //

          //


ORDER GRANTING DEFENDANT SCOTT
LANEY'S MOTION TO CONTINUE SENTENCING
HEARING; No. CR04-5460FDB - 1
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        FURTHER         ORDERED         that    the   sentencing      hearing    for   Defendant

Scott   Laney     is   continued    from       September     8,   2006,     to   November        17,

2006, at 9:30 a.m.

        DONE this 16th day of August, 2006.




                                                 A
                                                 FRANKLIN D. BURGESS
                                                 UNITED STATES DISTRICT JUDGE


CERTIFICATE OF SERVICE



        I hereby certify that on August 10, 2006, I electronically filed the

fo rego ing    "Order     [Pro posed]      Granting     Agreed        Mot ion    to     Cont inue

Defendant     Scott    Laney's     Sentencing     Hearing"     with   the    Clerk     of   Court,

using   the   CM/ECF      system which         will send     notification   of such     filing    to

the attorneys of record in this case.



                                        ________________________________
                                              RICHARD J. TROBERMAN




ORDER GRANTING DEFENDANT SCOTT
LANEY'S MOTION TO CONTINUE SENTENCING
HEARING; No. CR04-5460FDB - 2
